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                      EXHIBIT 4
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From:                              Hassan Abbas <haa_law@icloud.com>
Sent:                              Thursday, January 18, 2018 6:18 PM
To:                                Lee, Alvin; Bicks, Peter; Howard, Kyle S.
Subject:                           Midamines v KBC


Dear Mr. Bicks, Mr. Howard, Mr. Lee,

As you may be aware, case no. 16-9429, Midamines v KBC was dismissed without prejudice and it is clear that
Midamines has the right to refile in federal court and/or state court the claims against KBC. And there is no filing
injunction and there is no collateral estoppel.

Before I refile the claims in Illinois on behalf of Midamines (1) in Federal court (but other than Honorable Judge Tharp’s
court) and including RICO claims, as jurisdiction would be appropriate, under FRCP 4(k), and/or (2) before I refile in State
court — Please let me know if KBC is willing to resolve this matter amicably and pay the money owing of $35,119.72 and
Euro 56,414 plus interest for the past five years.

Thank you for your cooperation in this matter.

Hassan A. Abbas
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https://protect-us.mimecast.com/s/UpdVCyPXj0s0nYkESZCyWW?domain=haa-law.com
